               Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021        Page 1 of 42




                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                   Chapter 7
BARFLY VENTURES, LLC, et al. 1                     Hon. James W. Boyd
                                                   Jointly Administered
         Debtors.                                  Case No. 20-01947

____________________________________/

         TRUSTEE’S MOTION TO APPROVE (I) SETTLEMENT OF (A) CERTAIN
          CAUSES OF ACTION AND CLAIMS AGAINST MARK A. SELLERS III
             AND (B) BARFLY CLAIM AGAINST MARK A. SELLERS III, AND
         (II) FOR OTHER RELIEF PURSUANT TO BANKRUPTCY RULE 9019(a)

         Thomas Bruinsma, in his capacity as chapter 7 Trustee of Barfly Ventures, LLC et al.

(the “Trustee”), by and through his undersigned counsel, brings this Motion to Approve (I)

Settlement of (A) Certain Causes of Action and Claims Against Mark A. Sellers III and (B) Barfly

Claim Against Mark A. Sellers III, and (II) For Other Relief Pursuant to Bankruptcy Rule

9019(a) (the “Motion”) pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (the




1
  The substantively consolidated debtors are: Barfly Ventures, LLC (8379), Barfly Management,
LLC (6274), 9 Volt, LLC (d/b/a HopCat) (1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)
(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing Company) (2130), E L Brewpub,
LLC (d/b/a HopCat East Lansing) (5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago,
LLC (7552), HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR
Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-
Broad Ripple) (7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat) (6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC
(2999), HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis,
LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and
McFadden’s Restaurant Saloon) (4255).



                                               1
4889-3520-8710.v5
               Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021         Page 2 of 42




“Bankruptcy Rules”),2 and respectfully states as follows:

                                              Introduction

         1.         By the Motion, the Trustee seeks entry of an order in the form attached hereto as

Exhibit 1 approving a settlement entered into with Mark A. Sellers III (“Sellers”), a former

officer, director, employee and shareholder of the above-captioned Debtors (collectively, the

“Debtors”), as set forth in the Settlement Agreement attached hereto as Exhibit 6 (the

“Settlement Agreement”). For the reasons set forth below, the Trustee believes that the

settlement set forth in the Settlement Agreement is in the best interests of the Debtors’ estates

and, thus, it should be approved by the Court.

                                               Jurisdiction

         2.         This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(a). This

is a core matter pursuant to 28 U.S.C. § 157(b)(2)(A), (C) and (O).

         3.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              Background

A.       The Barfly Bankruptcy Cases and Sellers’ Bankruptcy Case

         4.         On June 3, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 (collectively, the “Barfly Cases”).

         5.         On June 9, 2020, the Barfly Cases were consolidated for administrative purposes

in the Order (I) Directing Joint Administration of the Debtors’ Chapter 11 Cases and (II)

Granting Related Relief [Doc. No. 60].

2
  References to specific rules of the Federal Rules of Bankruptcy Procedure are identified herein
as “Bankruptcy Rule __.” Similarly, references to specific chapters of 11 U.S.C. §§ 101 et seq.
(the “Bankruptcy Code”) are identified herein as “chapter __” and specific sections of the
Bankruptcy Code are identified herein as “section __.”


                                                    2
4889-3520-8710.v5
               Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021         Page 3 of 42




         6.         On June 23, 2020, the Office of the United States Trustee for the Western District

of Michigan (the “UST”) appointed the Official Committee of Unsecured Creditors of Barfly

Ventures, LLC et al. (the “Committee”) pursuant to section 1102 [Doc. No. 85].

         7.         On August 11, 2020, Sellers filed a voluntary petition for relief under subchapter

5 of chapter 11, Case No. 20-02619 (the “Sellers Bankruptcy Case”).

B.       The Committee’s and the Trustee’s Authority to Pursue Claims

         8.         On September 17, 2020, the Committee was granted derivative standing to pursue

claims against Sellers on behalf of the Barfly Debtors’ estates, pursuant to the Court’s Order

Granting Derivative Standing to the Official Committee of Unsecured Creditors to Pursue

Causes of Action on Behalf of the Debtors’ Bankruptcy Estates [Doc. No. 317] (the “Derivative

Standing Order”).

         9.         The Derivative Standing Order expressly granted the Committee “derivative

standing and authority to prosecute the Sellers Claims on behalf of the Debtors’ bankruptcy

estates by, among other things, filing a proof of claim in the Sellers Bankruptcy Case”3 and

authorized the Committee “to take all actions it deems necessary or appropriate in connection

with the authority granted in this Order, with the full rights and privileges of the Debtors

including, but not limited to, the right to enter into settlement negotiations and, subject to court

approval, to settle the Sellers Claims.”




3
  The Derivative Standing Order provides that capitalized terms not otherwise defined are given
the meaning provided in the Stipulation to Entry of Order Granting Derivative Standing to the
Official Committee of Unsecured Creditors to Pursue Causes of Action on Behalf of the Debtors’
Bankruptcy Estates [Doc. No. 309] (the “Derivative Standing Stipulation”). The Derivative
Standing Stipulation defines the “Sellers Claims” as “certain claims and causes of action that the
[Debtors’] estates may have against one of their principles, Mark A. Sellers III.”


                                                    3
4889-3520-8710.v5
               Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021       Page 4 of 42




C.       Conversion of the Chapter 11 Cases

         10.        On October 21, 2020, the Court entered the Amended Order (I) Authorizing the

Sale of Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims,

Encumbrances, and Other Interests, (II) Authorizing the Assumption and Assignment of Certain

Executory Contracts and Unexpired Leases, and (III) Granting Related Relief (the “Sale Order”)

[Doc. No. 376].

         11.        The Sale Order was one component of a mediated resolution of various issues by

and amongst the Debtors, their secured creditors, and the Committee. Pursuant to the mediated

resolution, it was agreed that, after closing of the sale, the Barfly Cases would be substantively

consolidated and converted to a case under chapter 7, at which time a trustee would be appointed

to investigate and, in his discretion, pursue claims and causes of action held by the Barfly

Debtors’ estates.

         12.        On May 18, 2021, the Court entered the Order Converting the Debtors’ Chapter

11 to Chapter 7, Rejecting Executory Contracts and Granting Other Relief [Doc. No. 486].

Pursuant to that order, the Debtors’ bankruptcy case was converted to a case under chapter 7 and

Thomas Bruinsma was appointed to serve as the interim chapter 7 trustee.

D.       The Claims and Claim Objections

         13.        On September 28, 2020, the Committee, on behalf of the Debtors, filed a proof of

claim in the Sellers Bankruptcy Case on behalf of the Debtors’ estates [Claim No. 16] (the

“Barfly Claim”) in the amount of $1,746,183.11. The Committee asserted that Sellers breached

the fiduciary duties that he owed to the Debtors by, among other things, “causing Barfly to make

distributions or payments to himself, his insiders, and to entities controlled by him that were not




                                                    4
4889-3520-8710.v5
               Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021        Page 5 of 42




made for a legitimate corporate purpose nor provided any benefit to Barfly.” The Committee also

asserted that certain of the Debtors’ claims against Sellers may be non-dischargeable pursuant to

section 523.4 The Committee also reserved its right to assert additional claims against Sellers

based on its investigation of the Debtors’ affairs.

         14.        On November 19, 2020, Sellers filed a proof of claim in Barfly Ventures, LLC’s

bankruptcy case [Claim No. 108-1] for compensation allegedly due under an employment

agreement. Sellers filed an amended proof of claim on November 25, 2020 [Claim No. 108-2]

(Sellers’ proof of claim and amended claim are collectively, the “Sellers Claim”).

         15.        On April 28, 2021, Sellers filed his Objection to Proof of Claim No. 16 Filed by

Barfly Ventures, LLC et. al. (the “Barfly Claim Objection”) in the Sellers Bankruptcy Case.

Sellers did not object to the substance of the Barfly Claim in the Barfly Claim Objection but,

rather, asserted that he had a claim against the Barfly Debtors and such claim should be offset

against the Barfly Claim.5

E.       The Trustee’s Investigation

         16.        Since his appointment, the Trustee has reviewed and investigated the pre-petition

affairs and financial condition of the Barfly Debtors, as well as the actions or inactions taken by

4
  The original deadline for any party in interest to commence an action to determine the
dischargeability of certain debts pursuant to section 523(a) in Sellers Bankruptcy Case was
November 16, 2020 (the “Dischargeability Deadline”), but the Court entered several orders, on
the parties’ stipulation, extending the Dischargeability Deadline. The most recent order extended
the Dischargeability Deadline to 21 days after entry of a final non-appealable order denying this
Motion.
5
 The original deadline for responses to the Barfly Claim Objection was May 28, 2021 (the
“Barfly Claim Response Deadline”), but the Court entered several orders, on the Parties’
stipulation, extending the Barfly Claim Response Deadline. The most recent order extended the
Barfly Claim Response Deadline to 21 days after entry of a final non-appealable order denying
this Motion.


                                                    5
4889-3520-8710.v5
                 Case:20-01947-jwb      Doc #:516 Filed: 12/20/2021        Page 6 of 42




Sellers as a director and officer of the Barfly Debtors.

           17.      The Trustee retained professionals and requested and reviewed voluminous

documents from the Debtors, the purchaser of their assets, Project Barfly, LLC, and others.

           18.      On July 6, 2021, the Trustee filed the Trustee’s Motion for an Order Under Fed.

R. Bankr. P. 2004 Directing Mark A Sellers, III and Innovo Development Group, LLC to

Produce Certain Documents and Appear for Examination [Doc. No. 498] (the “2004 Motion”).

On August 19, 2021, the 2004 Motion was granted pursuant to the Order Granting Trustee’s

Motion for an Order Under Fed. R. Bankr. P. 2004 Directing Mark A Sellers, III and Innovo

Development Group, LLC to Produce Certain Documents and Appear for Examination [Doc.

No. 511] (the “2004 Order”).

           19.      Consistent with the 2004 Order, the Trustee served a subpoena on Sellers on

August 19, 2021. In response to the subpoena, Sellers produced approximately 60,000

documents to the Trustee including, but not limited to, emails and text messages. A number of

disputes arose during the production of the discovery relating to, among other things, the format

in which the electronic discovery was produced and the cost attendant to Sellers producing text

messages (the “Text Messages”). With respect to the production of the Text Messages, Sellers

requested, and the Trustee agreed, subject to obtaining authorization, to reimburse and to pay

Sellers’ counsel $3,000 of the cost associated with the production of the Text Messages by

Sellers.

           20.      After reviewing voluminous records produced, the Trustee considered asserting

several potential causes of action against Sellers including, but not limited to, seeking to render all




                                                   6
4889-3520-8710.v5
                  Case:20-01947-jwb      Doc #:516 Filed: 12/20/2021         Page 7 of 42




or a portion of the Barfly Claim nondischargeable under sections 523(a)(2)(A), (a)(4) and (a)(6).

The Trustee also considered various potential objections to the Sellers Claim.

         21.        Following several weeks of negotiations among the Trustee and Sellers, the

parties agreed to a settlement as set forth in the Settlement Agreement. The material terms of the

Settlement Agreement are as follows:

             i.     The Barfly Claim amount will be reduced from $1,746,183.11 to
                    $1,386,545.78 and be treated as an allowed unsecured claim in the Sellers
                    Case, as reflected in the Barfly Amended Claim, a copy of which is
                    attached as Exhibit 7. In addition, the Trustee waives the right to further
                    amend or increase the Barfly Claim. The Barfly Amended Claim shall be
                    filed in the Sellers Case upon entry of a final nonappealable order
                    approving the Settlement Agreement.

            ii.     The Trustee will pay $3,000 to Sellers’ counsel, Miller, Johnson, Snell &
                    Cummiskey, P.L.C., for costs incurred in collecting and producing the
                    Text Messages. Sellers will pay all additional amounts associated with
                    responding to the subpoena issued by the Trustee.

           iii.     Upon entry of a final nonappealable order approving the Settlement
                    Agreement, Sellers shall withdraw the Sellers Claim in the Barfly Case,
                    pursuant to the Notice of Withdrawal, attached as Exhibit 8 hereto.

           iv.      Under the Settlement Agreement, the Trustee has agreed for himself and
                    on behalf of the Debtors’ bankruptcy estate on the later of the Effective
                    Date or the date on which the Sellers Claim is withdrawn, to waive the
                    right: (i) to seek to have amounts owed by Sellers deemed non-
                    dischargeable pursuant to section 523 of the Bankruptcy Code, and (ii) to
                    seek to collect from Sellers on (a) any claims against Sellers (other than
                    the Amended Barfly Claim) or (b) any judgment entered in favor of the
                    Trustee against Sellers and/or any third party. For the avoidance of doubt,
                    the Trustee is expressly preserving the right to name Sellers as a party
                    (and seek a judgment against Sellers) in connection with any claims which
                    the Trustee asserts may be recoverable from Sellers and/or a third party,
                    including, but not limited to, claims against: (i) a former officer and
                    director of the Debtors for breaches of their fiduciary duties, and (ii)
                    Michele Sellers related to alimony payments and/or other payments made
                    with property of the Barfly Debtors; provided, however, the Trustee shall
                    be prohibited from attempting to collect any such judgment from Sellers;
                    provided, further, a third party shall include an insurer (collectively, the
                    “Preserved Claims”).


                                                     7
4889-3520-8710.v5
                 Case:20-01947-jwb      Doc #:516 Filed: 12/20/2021         Page 8 of 42




            v.      Sellers will cooperate with the Trustee in connection with any claims the
                    Trustee elects to pursue on behalf of the Debtors’ estates, including
                    attending a 2004 examination and testifying at trial in any adversary
                    proceedings subsequently brought by the Trustee. 6

                                            Relief Requested

          22.       Bankruptcy Rule 9019(a) provides, in pertinent part, that “[o]n motion by the

trustee and after notice and a hearing, the court may approve a compromise or settlement.”

Fed.R.Bankr.P. 9019(a).

          23.       Settlements are generally favored by law. See, e.g., In re SCBA Liquidation, Inc.,

f/k/a Second Chance Body Armor, Inc., 451 B.R. 747, 768 (Bankr. W.D. Mich. 2011) (quoting

Buckeye Check Cashing, Inc. d/b/a CheckSmart v. Meadows (In re Meadows), 396 B.R. 485, 499

(BAP 6th Cir. 2008)).

          24.       “The benchmark for determining the propriety of a bankruptcy settlement is

whether the settlement is in the best interests of the estate.” In re Lee Way Holding Co., 120 B.R.

881, 890 (Bankr. S.D. Ohio 1990) (citing In re Energy Co-op., 886 F.2d 921, 927 (7th Cir.

1989)).

          25.       The United States Supreme Court has stated that a bankruptcy judge, in

evaluating compromises under Bankruptcy Rule 9019(a), must:

          Apprise [itself] of all facts necessary for an intelligent and objective opinion of
          the probabilities of ultimate success should the claim be litigated. Further, the
          judge should form an educated estimate of the complexity, expense and likely
          duration of such litigation, the possible difficulties of collecting on any judgment
          which might be obtained, and all other factors relevant to a full and fair
          assessment of the wisdom of the proposed compromise.



6
  Other terms of the Settlement are set forth in the Settlement Agreement. To the extent there is
any discrepancy between the terms set forth in this Motion and the Settlement Agreement, the
terms of the Settlement Agreement shall control.


                                                    8
4889-3520-8710.v5
                Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021          Page 9 of 42




Protective Comm. for Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390

U.S. 414, 423 (1968); see also In re Stinson, 221 B.R. 726 (Bankr. E.D. Mich. 1998).

          26.       In reviewing a proposed settlement, courts consider the following criteria:

                    (a)    The probability of success in the litigation;

                    (b)    The difficulties, if any, to be encountered in the matter of collection;

                    (c)    The complexity of the litigation involved, and the expense, inconvenience
                           and delay necessarily attending it; and

                    (d)    The paramount interests of the creditors and a proper deference to their
                           reasonable views in the premises.

In re Lee Way Holding Co., 120 B.R. at 890 (citing Drexel v. Loomis, 35 F.2d 800 (8th Cir.

1929)).

          27.       A bankruptcy court’s role in approving a settlement under Bankruptcy Rule

9019(a) is limited. The bankruptcy court “does not substitute its own judgment for that of the

trustee” but, rather, examines the law and the facts to see whether the settlement is lower than the

reasonable range, giving weight to the informed judgment of the trustee and its counsel that a

compromise is fair and in the best interests of the estate. See e.g., In re Tennol Energy Co., 127

B.R. 820 (Bankr. E.D. Tenn. 1991).

          28.       In addition, a bankruptcy court should consider that compromises are favored in

bankruptcy:

          The law favors compromise and not litigation for its own sake, and as long as the
          bankruptcy court amply considered the various factors that determined the
          reasonableness of the compromise, the court’s decision must be affirmed.

Martin v. Kane (In re A & C Properties), 784 F.2d, 1377, 1381 (9th Cir. 1986); accord Magill v.

Springfield Marine Bank (In re Heissinger Resources Ltd.), 67 B.R. 378, 383 (C.D. Ill. 1986)

(“In addition [to the four enumerated factors], the bankruptcy court is to consider that the law



                                                     9
4889-3520-8710.v5
               Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021        Page 10 of 42




favors compromise.”).

         29.        A bankruptcy court may also apply weight to a trustee’s business judgment that

the proposed settlement should be approved. See Depoister, 36 F.3d at 587; In re Hessinger

Resources Ltd., 67 B.R. at 383.

         30.        Finally, a bankruptcy court is not required to conduct an evidentiary hearing or a

“mini-trial” on the parties’ claims and defenses when approving a settlement. See Depoister v.

Mary M. Holloway Foundation, 36 F.3d 582, 586 (7th Cir. 1994) (evidentiary hearing not

required). Instead, the court is required only “to canvas the issues in order to determine whether

the settlement falls below the lowest point in the range of reasonableness.” In re Rimsat, Ltd.,

224 B.R. 685, 688 (Bankr. N.D. Ind. 1997); accord In re Energy Co-op., Inc., 886 F.2d at 929; In

re Tennol Energy Co., 127 B.R. at 828.

         31.        After performing an extensive analysis of the merits of the potential claims the

Trustee could pursue against Sellers and the defenses thereto, the Trustee, in his business

judgment, has determined that the settlement set forth in the Settlement Agreement is fair and

equitable, in the best interests of the Debtors’ estates, and should be approved for the following

primary reasons:

             i.     The Sellers Claim will be waived and the Barfly Claim Objection will be
                    withdrawn, thereby eliminating a substantial unsecured claim against the
                    Barfly Estates and negating the cost, the delay and the uncertainty
                    associated with such litigation.

            ii.     The Barfly Amended Claim will be allowed in the Sellers Bankruptcy
                    Case without risk of Sellers asserting an offset, the result of which would
                    be to substantially reduce such claim.

           iii.     The settlement avoids litigation of a nondischargeability action under
                    section 523(a), which litigation would be time consuming and expensive,
                    with uncertain results.




                                                    10
4889-3520-8710.v5
               Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021       Page 11 of 42




           iv.      Because Sellers filed his own chapter 11 bankruptcy case, and because his
                    income is committed to funding his chapter 11 plan, collectability on any
                    judgments that might be obtained against Sellers is uncertain.

            v.      The Trustee retains the right to pursue the Preserved Claims, at his
                    election and with Sellers’ cooperation.

         32.        Finally, the Trustee has conducted an extensive investigation and review and,

based thereon, has exercised his business judgment in entering into the Settlement Agreement

and believes that approval of the Settlement Agreement is in the best interests of the creditors of

the Debtors’ estates. Under such circumstances, the Court should apply weight to the Trustee’s

judgment.

         33.        For the foregoing reasons, the Trustee requests that this Court enter an order in

the form attached hereto as Exhibit 1 granting the Motion and approving the settlement as set

forth in the Settlement Agreement.

                                                 Notice

         34.        All parties having requested notice in the Barfly Cases under Bankruptcy Rule

2002 shall receive notice of the Motion via ECF. In addition, the Trustee shall serve all creditors

listed on the consolidated matrix of the Debtors via first class mail pursuant to Bankruptcy Rule

2002(a). Sellers will serve notice of the Motion on all parties having requested notice in the

Sellers Case under Bankruptcy Rule 2002 via ECF and via first class mail on all creditors listed

on the matrix in the Sellers Case. The Trustee will also serve the Motion and the notice on the

Office of the United States Trustee via electronic mail. The Trustee submits that no additional

notice is necessary in this matter.

         WHEREFORE, the Trustee respectfully requests that this Court enter an order in the

form attached hereto as Exhibit 1: (i) granting the Motion thereby approving the settlement set



                                                   11
4889-3520-8710.v5
              Case:20-01947-jwb    Doc #:516 Filed: 12/20/2021         Page 12 of 42




forth in the Settlement Agreement, (iii) authorizing the Trustee to reimburse Sellers’ counsel

$3,000.00 related to the production of the Text Messages, and (iii) granting any other relief that

it deems just and equitable.

                                             Respectfully submitted by,

                                             JAFFE RAITT HEUER & WEISS, P.C.

                                             By: /s/ Hailey R. Kimball-Dexter
                                             Judith Greenstone Miller (P29208)
                                             Paul R. Hage (P70460)
                                             Hailey Kimball-Dexter (P81031)
                                             27777 Franklin, Suite 2500
                                             Southfield, MI 48034
                                             (248) 351-3000
                                             jmiller@jaffelaw.com
                                             phage@jaffelaw.com
                                             hkimball@jaffelaw.com

                                             Counsel to Thomas Bruinsma, in his capacity as
                                             Chapter 7 Trustee of Barfly Ventures, LLC, et al.
Dated: December 20, 2021




                                               12
4889-3520-8710.v5
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021   Page 13 of 42




                                        Exhibit 1

                                     Proposed Order




4889-3520-8710.v5
              Case:20-01947-jwb    Doc #:516 Filed: 12/20/2021          Page 14 of 42




                       UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                     Chapter 7
BARFLY VENTURES, LLC, et al. 1                       Hon. James W. Boyd
                                                     Jointly Administered
         Debtors.                                    Case No. 20-01947

____________________________________/

           ORDER APPROVING TRUSTEE’S (I) SETTLEMENT OF (A) CERTAIN
           CAUSES OF ACTION AND CLAIMS AGAINST MARK A. SELLERS III,
              AND (B) BARFLY CLAIM AGAINST MARK A. SELLERS III, AND
          (II) FOR OTHER RELIEF PURSUANT TO BANKRUPTCY RULE 9019(a)

         Upon the motion (the “Motion”)2 of Thomas Bruinsma, in his capacity as chapter 7

Trustee of Barfly Ventures, LLC et al. (the “Trustee”), for entry of an order approving (i) a

settlement with Mark A. Sellers III (“Sellers”), and (ii) the Barfly Claim against Sellers, and for

other relief; the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; this matter being a core proceeding pursuant to 28 U.S.C. § 157(b); venue of this

proceeding in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409; it appearing



1
  The substantively consolidated debtors are: Barfly Ventures, LLC (8379), Barfly Management,
LLC (6274), 9 Volt, LLC (d/b/a HopCat) (1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)
(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing Company) (2130), E L Brewpub,
LLC (d/b/a HopCat East Lansing) (5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago,
LLC (7552), HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR
Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-
Broad Ripple) (7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat) (6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC
(2999), HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis,
LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and
McFadden’s Restaurant Saloon) (4255).
2
 Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the
Motion.



4889-3520-8710.v5
              Case:20-01947-jwb          Doc #:516 Filed: 12/20/2021         Page 15 of 42




that notice of this Motion was appropriate under the particular circumstances and that no other or

further notice need be given; it appearing that the relief requested in the Motion is in the best

interest of the Debtors’ estates; after due deliberation and sufficient cause appearing therefor;

         IT IS HEREBY ORDERED THAT:

         1.         The Motion is granted in its entirety.

         2.         Pursuant to Bankruptcy Rule 9019(a), the proposed settlement set forth in the

Settlement Agreement attached as Exhibit 6 to the Motion (the “Settlement Agreement”) is

hereby approved.

         3.         The Trustee is authorized to reimburse Seller’ counsel $3,000.00 for part of

Sellers’ cost in producing the Text Messages.

         4.         The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

                                             END OF ORDER

Order prepared and submitted by:

JAFFE RAITT HEUER & WEISS, P.C.
Judith Greenstone Miller (P29208)
Paul R. Hage (P70460)
Hailey Kimball-Dexter (P81031)
27777 Franklin, Suite 2500
Southfield, MI 48034
(248) 351-3000
jmiller@jaffelaw.com
phage@jaffelaw.com
hkimball@jaffelaw.com




4889-3520-8710.v5
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021   Page 16 of 42




                                        Exhibit 2

                             Notice and Opportunity to Object




4889-3520-8710.v5
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021        Page 17 of 42




                       UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                   Chapter 7
BARFLY VENTURES, LLC, et al. 1                     Hon. James W. Boyd
                                                   Jointly Administered
         Debtors.                                  Case No. 20-01947

____________________________________/

 NOTICE AND OPPORTUNITY TO OBJECT TRUSTEE’S MOTION TO APPROVE
 SETTLEMENT OF (A) CERTAIN CAUSES OF ACTION AND CLAIMS AGAINST
MARK A. SELLERS III AND (B) BARFLY CLAIM AGAINST MARK A. SELLERS III,
   AND (II) FOR OTHER RELIEF PURSUANT TO BANKRUPTCY RULE 9019(a)

       PLEASE TAKE NOTICE that Thomas Bruinsma, in his capacity as chapter 7 Trustee
of Barfly Ventures, LLC et al. (the “Trustee”) has filed the Motion to Approve (I) Settlement of
(A) Certain Causes of Action and Claims Against Mark A. Sellers III and (B) Barfly Claim
Against Mark A. Sellers III and (II) For Other Relief Pursuant to Bankruptcy Rule 9019(a) (the
“Motion”).

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one.

       If you do not want the Court to grant the Motion, or if you want the Court to consider
your views on the Motion, within 21 days after the date of this Notice, you or your attorney
must:




1
  The substantively consolidated debtors are: Barfly Ventures, LLC (8379), Barfly Management,
LLC (6274), 9 Volt, LLC (d/b/a HopCat) (1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)
(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing Company) (2130), E L Brewpub,
LLC (d/b/a HopCat East Lansing) (5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago,
LLC (7552), HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR
Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-
Broad Ripple) (7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat) (6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC
(2999), HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis,
LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and
McFadden’s Restaurant Saloon) (4255).



4889-3520-8710.v5
              Case:20-01947-jwb         Doc #:516 Filed: 12/20/2021         Page 18 of 42




         1.         File with the Court a written response explaining your position at:2

                                      United States Bankruptcy Court
                                       Western District of Michigan
                                       1 Division Ave N, Room 200
                                         Grand Rapids, MI 49503

If you mail your response to the court for filing, you must mail it early enough so the court will
receive it on or before the date stated above. All attorneys are required to file pleadings
electronically. You must also mail, email, or fax a copy to:

                                      Jaffe Raitt Heuer & Weiss, P.C.
                                      Attn: Hailey R. Kimball-Dexter
                                     27777 Franklin Road, Suite 2500
                                           Southfield, MI 48034
                                              (248) 351-3000
                                          hkimball@jaffelaw.com

      2.       If an objection is timely filed and served, the Court will schedule a hearing on the
Motion at a date to be determined.

       If you or your attorney do not take these steps, the Court may decide that you do
not oppose the relief sought in the Motion and may enter an order granting that relief.

                                                  JAFFE RAITT HEUER & WEISS, P.C.

                                                  By: /s/ Hailey R. Kimball-Dexter
                                                  Hailey Kimball-Dexter (P81031)
                                                  27777 Franklin, Suite 2500
                                                  Southfield, MI 48034
                                                  (248) 351-3000
                                                  jmiller@jaffelaw.com
                                                  phage@jaffelaw.com
                                                  hkimball@jaffelaw.com

                                                  Counsel to Thomas Bruinsma, in his capacity as
                                                  Chapter 7 Trustee of Barfly Ventures, LLC, et al.

Dated: December 20, 2021




2
 All responses or objections must comply with Rules 8(b), (c) and (e) of the Federal Rules of
Civil Procedure.



4889-3520-8710.v5
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021   Page 19 of 42




                                         Exhibit 3

                              Required Brief – Not Applicable




4889-3520-8710.v5
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021   Page 20 of 42




                                         Exhibit 4

                                   Certificate of Service




4889-3520-8710.v5
              Case:20-01947-jwb      Doc #:516 Filed: 12/20/2021           Page 21 of 42




                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                          Chapter 7
BARFLY VENTURES, LLC, et al. 1                            Hon. James W. Boyd
                                                          Jointly Administered
         Debtors.                                         Case No. 20-01947

____________________________________/

                                  CERTIFICATE OF SERVICE

         I hereby certify that on December 20, 2021, I electronically filed the Motion to Approve

(I) Settlement of (A) Certain Causes of Action and Claims Against Mark A. Sellers III and (B)

Barfly Claim Against Mark A. Sellers III and (II) For Other Relief Pursuant to Bankruptcy Rule

9019(a) (the “Motion”) and the Notice and Opportunity to Object (the “Notice”) with the Clerk

of the Court which sends notice by operation of the Court’s electronic filing service to all ECF

participants registered to receive notice in this case.

         I further certify that on December 20, 2021, I served the Motion and the Notice on

Sellers2 and the Office of the United States Trustee via electronic mail, and the Notice on the

consolidated mailing matrix via first class mail.



1
  The substantively consolidated debtors are: Barfly Ventures, LLC (8379), Barfly Management,
LLC (6274), 9 Volt, LLC (d/b/a HopCat) (1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)
(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing Company) (2130), E L Brewpub,
LLC (d/b/a HopCat East Lansing) (5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago,
LLC (7552), HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR
Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-
Broad Ripple) (7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat) (6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC
(2999), HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis,
LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and
McFadden’s Restaurant Saloon) (4255).



4889-3520-8710.v5
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021      Page 22 of 42




                                          Respectfully submitted by,

                                          JAFFE RAITT HEUER & WEISS, P.C.

                                          By: /s/ Hailey R. Kimball-Dexter
                                          Hailey Kimball-Dexter (P81031)
                                          27777 Franklin, Suite 2500
                                          Southfield, MI 48034
                                          (248) 351-3000
                                          jmiller@jaffelaw.com
                                          phage@jaffelaw.com
                                          hkimball@jaffelaw.com

                                          Counsel to Thomas Bruinsma, in his capacity as
                                          Chapter 7 Trustee of Barfly Ventures, LLC, et al.
Dated: December 20, 2021




2
  Capitalized terms not otherwise defined herein shall have the same meaning given to them in
the Motion.



4889-3520-8710.v5
              Case:20-01947-jwb    Doc #:516 Filed: 12/20/2021   Page 23 of 42




                                          Exhibit 5

                                  Affidavits – Not Applicable




4889-3520-8710.v5
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021   Page 24 of 42




                                        Exhibit 6

                                   Settlement Agreement




4889-3520-8710.v5
              Case:20-01947-jwb            Doc #:516 Filed: 12/20/2021       Page 25 of 42




                                         SETTLEMENT AGREEMENT

         This Settlement Agreement (“Agreement”) is made on December __, 2021, by and

between Thomas Bruinsma, in his capacity as chapter 7 Trustee of the Barfly Ventures, LLC et

al. 1 (the “Debtors”), (the “Trustee”) and Mark A. Sellers III (“Sellers”). The Trustee and Sellers

are sometimes referred to individually as a “Party” or collectively as the “Parties” in this

Agreement.

                                                RECITALS

I.       The Barfly Bankruptcy Cases and Sellers Bankruptcy Case

         A.       On June 3, 2020 (the “Petition Date”) each of the Debtors filed a voluntary

petition (the “Barfly Cases”) under chapter 11 of the United States Bankruptcy Code, 11 U.S.C.

§§ 101 et seq., (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Western

District of Michigan (the “Court”). On June 9, 2020, the Barfly Cases were consolidated for

administrative purposes in the Order (I) Directing Joint Administration of the Debtors’ Chapter

11 Cases and (II) Granting Related Relief under Case No. 20-01947.

         B.       Prior to the Petition Date, Sellers was an officer, director, employee, and

shareholder of the Debtors.

         C.       On June 25, 2020, the Office of the United States Trustee for the Western District




1 The substantively consolidated debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9
Volt, LLC (d/b/a HopCat) (1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge) (3684), GRBC Holdings, LLC (d/b/a
Grand Rapids Brewing Company) (2130), E L Brewpub, LLC (d/b/a HopCat East Lansing) (5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519),
HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad
Ripple) (7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)
(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCatLouisville, LLC (0252), HopCat-
Madison, LLC (9108), HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak,
LLC (1935), HopCat-St. Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and
McFadden’s Restaurant Saloon) (4255).



Error! Unknown document property name.
              Case:20-01947-jwb          Doc #:516 Filed: 12/20/2021    Page 26 of 42




of Michigan (“UST”) appointed the Official Committee of Unsecured Creditors of Barfly

Ventures, LLC et al. (the “Committee”) pursuant to section 1102 of the Bankruptcy Code.

         D.       On August 11, 2020, Sellers commenced a voluntary petition under subchapter V

of chapter 11 of the Bankruptcy Code, Case No. 20-02619 (the “Sellers Case”) in the Court.

         E.       On September 17, 2020, the Committee was granted derivative standing to pursue

claims against Sellers on behalf of the Debtors’ estates, pursuant to the Court’s Order Granting

Derivative Standing to the Official Committee of Unsecured Creditors to Pursue Causes of

Action on Behalf of the Debtors’ Bankruptcy Estates (the “Derivative Standing Order”).

         F.       The Derivative Standing Order expressly granted the Committee “derivative

standing and authority to prosecute [claims against Sellers] on behalf of the Debtors’ bankruptcy

estates by, among other things, filing a proof of claim in the Sellers Bankruptcy Case,” and

authorized the Committee “to take all actions it deems necessary or appropriate in connection

with the authority granted in this Order, with the full rights and privileges of the Debtors

including, but not limited to, the right to enter into settlement negotiations and, subject to court

approval, to settle [claims against Sellers].”

         G.       The Barfly Cases were substantively consolidated and converted to a chapter 7 on

May 18, 2021. The Trustee was appointed to serve as the interim chapter 7 trustee in the Barfly

Cases on that same date pursuant to the Order Converting the Debtors’ Chapter 11 Cases to

Chapter 7, Rejecting Contracts and Granting Related Relief.

II.      The Claims and Claim Objections

         H.       On September 28, 2020, the Committee, on behalf of the Debtors, filed a proof of

claim in the Sellers Bankruptcy Case [Claim No. 16] (the “Barfly Claim”) in the amount of

$1,746,183.11. Additionally, Tthe Committee asserted that Sellers may have breached his




                                                   2
Error! Unknown document property name.
              Case:20-01947-jwb          Doc #:516 Filed: 12/20/2021     Page 27 of 42




fiduciary duties owed to the Debtors by, among other things, “causing Barfly to make

distributions or payments to himself, his insiders, and to entities controlled by him that were not

made for a legitimate corporate purpose nor provided any benefit to Barfly.” The Committee also

asserted that certain of the Debtors’ claims against Sellers may be non-dischargeable pursuant to

section 523 of the Bankruptcy Code. The Committee also reserved its right to assert additional

claims against Sellers based on its investigation of the Debtors’ affairs.

         I.       On November 17, 2020, Sellers filed a proof of claim in Barfly Ventures, LLC’s

bankruptcy case [Claim No. 108-1] for compensation allegedly due under an employment

agreement. Sellers filed an amended proof of claim on November 25, 2020 [Claim No. 108-2] in

the amount of $1,267,676.03. (Sellers’ proof of claim and amended claim are collectively, the

“Sellers Claim”).

         J.       On April 28, 2021, Sellers filed his Objection to Proof of Claim No. 16 Filed by

Barfly Ventures, LLC et. al. (the “Barfly Claim Objection”). Sellers did not object to the

substance of the Barfly Claim in the Barfly Claim Objection but, rather, asserted that the Sellers

Claim should be offset against the Barfly Claim.

C.       The Trustee’s Investigation

         K.       On July 6, 2021, the Trustee filed the Trustee’s Motion for an Order Under Fed.

R. Bankr. P. 2004 Directing Mark A Sellers, III and Innovo Development Group, LLC to

Produce Certain Documents and Appear for Examination (the “2004 Motion”) in the Debtors’

bankruptcy case.

         L.       On August 19, 2021, the Order Granting Trustee’s Motion for an Order Under

Fed. R. Bankr. P. 2004 Directing Mark A Sellers, III and Innovo Development Group, LLC to

Produce Certain Documents and Appear for Examination (the “2004 Order”) was issued.




                                                   3
Error! Unknown document property name.
                Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021       Page 28 of 42




           M.      Consistent with the 2004 Order, the Trustee served a subpoena on Sellers on

August 19, 2021. In response to the subpoena, Sellers produced approximately 60,000

documents to the Trustee including, but not limited to, emails and text messages. A number of

disputes arose during the production of the discovery relating to, among other things, the format

in which the electronic discovery was produced and the cost attendant to Sellers producing text

messages (the “Text Messages”). With respect to the production of the Text Messages, Sellers

requested, and the Trustee agreed, subject to obtaining authorization, to reimburse and to pay

Sellers’ counsel $3,000 of the cost associated with the production of the Text Messages by

Sellers.

           N.      After performing an extensive analysis of the merits of the potential claims the

Trustee could pursue against Sellers and Sellers’ defenses thereto, the Trustee and Sellers have

agreed to resolve all potential claims and defenses in accordance with the terms and conditions

of this Agreement.

           NOW, THEREFORE, in consideration of the mutual promises and obligations contained

herein, the Parties agree to be legally bound as follows:

                                             AGREEMENT

           1.      Recitals: Each of the Recitals set forth in this Agreement are true and correct and

incorporated in their entirety herein.

           2.      The Barfly Claim: The Barfly Claim amount shall be reduced to $1,386,545.78

(the “Amended Barfly Claim”). The Trustee waives the right to further amend or increase the

Barfly Claim. Upon the Effective Date, the Trustee shall file the Amended Barfly Claim in the

Sellers Case, a copy of which is attached at Exhibit A, hereto. The Amended Barfly Claim shall

be treated as an allowed unsecured claim in the Sellers Case.




                                                    4
Error! Unknown document property name.
              Case:20-01947-jwb          Doc #:516 Filed: 12/20/2021    Page 29 of 42




         3.       The Sellers Claim. Upon the Effective Date, Sellers shall withdraw the Sellers

Claim from the Barfly Case pursuant to the Notice of Withdrawal, a copy of which is attached as

Exhibit B, hereto

         4.       Reimbursement for Certain Costs Incurred by Sellers in Connection with

Collection and Production of the Text Messages: On the Effective Date, the Trustee shall pay

$3,000 to Sellers’ counsel, Miller, Johnson, Snell & Cummiskey, P.L.C., for costs incurred in

collecting and producing the Text Messages. Upon payment of this sum, all additional amounts

associated with collecting and producing the Text Messages shall be paid by Sellers.

         5.       Limited Release of Sellers. On the later of the Effective Date or the date on

which the Sellers Claim is withdrawn, the Trustee for himself and on behalf of the Debtors’

bankruptcy estate hereby waives the right: (i) to seek to have amounts owed by Sellers deemed

non-dischargeable pursuant to section 523 of the Bankruptcy Code, and (ii) to seek to collect

from Sellers on (a) any claims against Sellers (other than the Amended Barfly Claim) or (b) any

judgment entered in favor of the Trustee against Sellers and/or any third party.           For the

avoidance of doubt, the Trustee is expressly preserving the right to name Sellers as a party (and

seek a judgment against Sellers) in connection with any claims which the Trustee asserts may be

recoverable from Sellers and/or a third party, including, but not limited to, claims against: (i) a

former officer and director of the Debtors for breaches of their fiduciary duties, and (ii) Michele

Sellers related to alimony payments and/or other payments made with property of the Barfly

Debtors; provided, however, the Trustee shall be prohibited from attempting to collect any such

judgment from Sellers; provided, further, a third party shall include an insurer (collectively, the

“Preserved Claims”).




                                                   5
Error! Unknown document property name.
               Case:20-01947-jwb         Doc #:516 Filed: 12/20/2021    Page 30 of 42




         6.       Cooperation: Sellers shall cooperate with the Trustee in connection with any

claims the Trustee elects to pursue against third parties on behalf of the Debtors’ estates,

including attending a 2004 examination and/or deposition and testifying at trial in any adversary

proceedings subsequently brought by the Trustee.

         7.       Court Approval: This Agreement is subject to the filing of the Motion, entry of

the Settlement Order and the Settlement Order becoming final and nonappealable.

         8.       Entire Agreement. This Agreement and the exhibits attached hereto constitute the

entire understanding with respect to the subject matter hereof, and any modifications or

amendments to this Agreement must be in writing and signed by the Parties to be charged in order

to be effective.       This Agreement may not be contradicted by prior, contemporaneous, or

subsequent oral agreements. All prior and contemporaneous oral agreements, if any, between the

parties are merged into this Agreement and do not survive this Agreement’s execution.

         9.       No Admissions: The execution of this Agreement and any other action taken

hereunder shall not constitute an admission by any of the Parties.

         10.      Advice of Counsel: The Parties acknowledge that each has had the opportunity to

seek and rely upon the advice of counsel in the negotiation and execution of this Agreement.

         11.      Drafting Provision.        This Agreement is entered into among competent

businesspersons and has been reviewed by the Parties and their counsel, if any. Therefore, any

ambiguous language in this Agreement will not be interpreted or construed for or against any

particular Party because such Party actually or purportedly prepared or requested such provision,

any other provision or the Agreement as a whole.

         12.      Authority: Subject to entry of the Settlement Order and the Settlement Order

becoming final and nonappealable, the Parties represent and warrant that they have full power,




                                                   6
Error! Unknown document property name.
               Case:20-01947-jwb         Doc #:516 Filed: 12/20/2021      Page 31 of 42




authority and legal right to, and have obtained all approvals and consents necessary to execute,

deliver and perform all actions required under this Agreement.

         13.      Severability/Partial Invalidity. Each of the Parties hereto intends and believes

that each provision of this Agreement comports with all applicable local, state and federal laws.

However, if any provision or provisions, or any portion of any provision or provisions, of this

Agreement is found by a court of law to be in violation of any applicable local, state or federal

ordinance, statute, law administrative decisions, or public policy, or if such court should declare

such portion, provision or provisions of this Agreement to be illegal, invalid, unlawful, void or

unenforceable as written, it is the intent of each of the Parties hereto that any such portion,

provision or provisions shall be given force to the fullest possible extent that they are legal, valid

and enforceable, that the remainder of this Agreement shall be construed as if such illegal,

invalid, unlawful, void or unenforceable portion, provision or provisions were not contained

therein, and that the rights, obligations, and interest of the Parties hereto under the remainder of

the Agreement shall continue in full force and effect.

         14.      The term “including” means “including, without limitation”, and the term

“includes” means “includes, without limitation”.

         15.      Headings. All headings are inserted for convenience and do not affect this

Agreement’s construction or interpretation.

         16.      Counterparts: This Agreement may be executed in several counterparts, each of

which shall constitute an original, so that all of which taken together shall constitute one and the

same instrument. Signatures transmitted by facsimile or electronic scan shall be considered as

one and the same as an original signature.




                                                   7
Error! Unknown document property name.
                Case:20-01947-jwb        Doc #:516 Filed: 12/20/2021    Page 32 of 42




          17.      Merger/No Oral Modification: This Agreement constitutes the entire

understanding of the Parties in connection with the subject matter hereof and may only be

amended or modified in a writing signed by the Parties to be bound.

          18.      Binding Effect. This Agreement is binding on each Party and their respective

successors, assigns, heirs, and personal representatives.     If any provision of this Agreement

conflicts with any applicable statute or law, or is otherwise unenforceable, such unenforceable

provision is null and void only to the extent of its unenforceability and is deemed separate from

and does not invalidate any other provision of this Agreement.

          19.      Inconsistency/Controlling Documents. To the extent there is any discrepancy

between the terms set forth in this Motion, the Settlement Order and this Agreement, the terms of

this Agreement shall control.

          20.      Nonassignability. This Settlement Agreement shall inure to the benefit of and

may be enforced by the Parties hereto and their respective successors, assigns, including any

direct or indirect successor by purchase, merger, consolidation or otherwise to all or substantially

of the business and/or assets of the Parties. None of the Parties may assign their rights or

obligations in connection with this Agreement without the prior written consent of all the Parties

subject to this Agreement.

          21.      Costs and Attorneys’ Fees: The Parties shall each bear its own fees and costs,

including attorney’s fees, associated with this Agreement and the resolution of the claims subject

hereto.

          22.      Choice of Law: This Agreement is, and shall be deemed to be, a contract entered

into under and pursuant to the laws of the State of Michigan and shall be in all respects




                                                   8
Error! Unknown document property name.
               Case:20-01947-jwb         Doc #:516 Filed: 12/20/2021   Page 33 of 42




governed, construed, applied and enforced in accordance with the laws of the State of Michigan

irrespective of its conflict of law provisions.

         23.      Jurisdiction: To the extent a dispute arises under this Agreement, it shall be

determined by the Court.

         24.      Effective Date. This Agreement shall be effective on the first business day

following the Settlement Order becoming final and nonappealable.



                          ***(SIGNATURES ON FOLLOWING PAGE)***




                                                   9
Error! Unknown document property name.
Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021   Page 34 of 42
             Case:20-01947-jwb           Doc #:516 Filed: 12/20/2021    Page 35 of 42




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set

forth below.



  THOMAS BRUINSMA, IN HIS                           MARK A. SELLERS III
  CAPACITY AS CHAPTER 7
  TRUSTEE OF THE DEBTORS
                                                    By: _________________________
  By: _________________________
                                                    Its: _________________________
  Its: _________________________
                                                       Dated: ______________________
  Dated: ______________________




                                                  10
Error! Unknown document property name.
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021   Page 36 of 42




                                        Exhibit 7

                              Barfly Amended Proof of Claim




4889-3520-8710.v5
                                 Case:20-01947-jwb                     Doc #:516 Filed: 12/20/2021                            Page 37 of 42

  Fill in this information to identify the case:

  Debtor 1              Mark A. Sellers, III
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          Western District    of __________
                                                           of Michigan
                                                     District

  Case number            20-02619
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                      

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      Barfly Ventures, LLC, et al.
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      3DXO+DJH-DIIH5DLWW+HXHU :HLVV3&                                    Thomas A. Bruisma
                                                                                                                  _____________________________________________________
   Federal Rule of                                                                                                Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                      27777 Franklin Road, Suite 2500                                            6812 Old 28th Street SE, Suite E
                                                                                                                  ______________________________________________________
                                                                                                                  Number      Street
                                       Southfield                        MI               48034                    Grand Rapids              MI           49546
                                                                                                                  ______________________________________________________
                                                                                                                  City                       State             ZIP Code

                                      Contact phone   248-351-3000
                                                       ________________________                                   Contact phone   616-975-2010
                                                                                                                                   ________________________

                                      Contact email     phage@jaffelaw.com
                                                        ________________________                                  Contact email   thomasbruinsma@earthlink.net
                                                                                                                                   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                 No
   one already filed?                 ✔
                                                                                               16-1
                                          Yes. Claim number on court claims registry (if known) ________                                 Filed on    09/28/2020
                                                                                                                                                    ________________________
                                                                                                                                                    MM / DD       / YYYY



5. Do you know if anyone              ✔
                                         No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                              page 1
                          Case:20-01947-jwb                 Doc #:516 Filed: 12/20/2021                        Page 38 of 42


 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                          1,386,545.78 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                             ✔ No
                                                                             
                                                                              Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 See Supporting Documentation
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                 
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
                           Case:20-01947-jwb                       Doc #:516 Filed: 12/20/2021                           Page 39 of 42


12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $1,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    ✔
                                  I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________     _______
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Paul                          R.                           Hage
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Attorney
                                                         _______________________________________________________________________________________________

                                  Company                 Jaffe Raitt Heuer & Weiss PC
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                27777 Franklin Road, Suite 2500
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         Southfield                                      MI           48034
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          248-351-3000
                                                         _____________________________                              Email         phage@jaffelaw.com
                                                                                                                                  ____________________________________




 Official Form 410                                                           Proof of Claim                                                                page 3
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021      Page 40 of 42




                                         Exhibit 8

                       Notice of Withdrawal of Sellers’ Proof of Claim




4889-3520-8710.v5
              Case:20-01947-jwb     Doc #:516 Filed: 12/20/2021     Page 41 of 42




                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MICHIGAN
                                    ________________

IN RE:                                                    Case No. 20-01947-jwb
                                                          Chapter 11
              BARFLY VENTURES, LLC, et al,3
                                                          Hon. James W. Boyd
                         Debtors.
                                                       / Jointly Administered

                            NOTICE OF WITHDRAWAL OF CLAIM
                         FILED ON BEHALF OF MARK A. SELLERS III

         Pursuant to Federal Rule of Bankruptcy Procedure 3006, Mark A. Sellers III, by and

through his undersigned attorneys, hereby withdraws with prejudice Claim No. 108 filed on

behalf of Mark A. Sellers III, in the amount of $1,267,676.03 as amended (the “Claim”). Mark

A. Sellers III warrants that he has not sold, assigned, factored, or otherwise transferred any

interest in the Claim.




3
 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s
Restaurant Saloon)(4255).



4889-3520-8710.v5
              Case:20-01947-jwb   Doc #:516 Filed: 12/20/2021       Page 42 of 42




                                               Miller Johnson
                                               Counsel for Mark A. Sellers III

Dated:                                   By:
                                               John T. Piggins (P34495)
                                               pigginsj@millerjohnson.com
                                               Business Address:
                                               P.O. Box 306
                                               Grand Rapids, MI 49501-0306
                                               (616) 831-1700




4889-3520-8710.v5
MJ_DMS 33862080v1 46044-5
